Case 9:24-cv-80958-AMC Document 23 Entered on FLSD Docket 08/30/2024 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO: 24-80958-CIV-CANNON

TERCILMENE MONERA
Petitioner,

V.

EVENS DATIS

Respondent.
/

NOTICE OF PERMANENT APPEARANCE

PHILLIP J. BRUTUS files this appearance as counsel for the above-named Respondent
and agrees to represent the Respondent for TRIAL AND ALL PROCEEDINGS IN THE
DISTRICT COURT. Counsel requests that copies of any and all pleadings, Orders, and other
matters filed by the parties and the Court in this case be provided to the undersigned at the
below specified address. Counsel acknowledges responsibility to advise the Respondent of the
right to appeal, and to file a timely notice of appeal if requested to do so by the Respondent.

Counsel hereby states that this appearance is in conformity with the requirements of
Local General Rule 11.1 and the Special Rules Governing the Admission and Practice of
Attorneys.

FEE DISPUTES BETWEEN COUNSEL AND CLIENT SHALL NOT BE A BASIS

FOR WITHDRAWAL FROM THIS REPRESENTATION.

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By: Mp ere
Phillip J. Britus, Esquire
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